                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

DANIEL GENE BOZE, et al.,                            Case No. 2:21-cv-00002

                         Plaintiffs,
                                                     Chief Judge Waverly D. Crenshaw, Jr.
v.                                                   Magistrate Judge Alistair Newbern

GREAT AMERICAN
INSURANCE COMPANY,

                       Defendant.

                          DEFENDANT’S MOTION TO DISMISS
                  PLAINTIFFS’ COMPLAINT (COUNTS I, II, III, IV, AND V)


           Defendant, Great American Insurance Company (“Great American”) hereby moves to

dismiss Plaintiffs’ Complaint (Doc. No. 1) against it under Fed. R. Civ. P. 12(b)(6) due to

Plaintiffs’ failure to state a claim upon which relief can be granted, and for the other reasons set

forth in the Brief filed in support of this motion. The Court should dismiss all of the Plaintiffs’

claims, including those identified in Plaintiffs’ Count I (Judicial Review (Section 20)), Count II

(Tennessee State Law (Contract)), Count III (Tennessee State Law (Common Law Bad Faith)),

Count IV (Tennessee State Law (Statutory Bad Faith)), and Count V (Tennessee State Law

(Tort)).




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                                                     Respectfully submitted,

                                                     s/ Thomas C. James, Jr.
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                                                     s/ Brigid M. Carpenter
                                                     Brigid M. Carpenter (TN BPR #018134)
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                                                     Attorneys for Defendant Great American



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he served a copy of the foregoing through the
Court’s Electronic Case Filing System (CM/ECF), upon Plaintiffs’ attorney, Wendell L. Hoskins
II, Law Office of Wendell L. Hoskins II, 404 Ward Ave., P.O. Box 1115, Caruthersville, MO 63830
(Wendell@WendellHoskins.com), this 18th day of January 2024.

                                                Thomas C. James, Jr.
                                                Thomas C. James, Jr.




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